Case 3:22-cv-01394-RKE-MCR Document 63 Filed 05/28/24 Page 1 of 2 PageID 407




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


   CAESAR DEPACO,

               Plaintiff,
                                               Case No. 3:22-cv-1394-RKE-MCR
   vs.

   SOCIEDADE INDEPENDENTE DE
   COMUNICACAO S.A., et al.,

               Defendants.
                                        /

                                       ORDER

         On May 24, 2024, the Court held oral argument on Defendants’ Motion to

   Dismiss Corrected Complaint, Doc. 32, during which the Parties addressed the

   issue of whether there is subject matter jurisdiction based on diversity.

         During oral argument, Plaintiff’s counsel conceded that Plaintiff is not a

   citizen of the United States. Defense counsel argued that Plaintiff’s lack of

   citizenship in the United States precludes the Court from exercising diversity

   jurisdiction because every Defendant is a citizen of Portugal.

         The Court finds it appropriate to permit the Parties to file additional

   briefing on the question of citizenship as it relates to diversity jurisdiction.

   Should the Parties choose to file additional briefing, they must address the

   Eleventh Circuit’s decision in Cavalieri v. Avior Airlines C.A., 25 F.4th 843 (11th
Case 3:22-cv-01394-RKE-MCR Document 63 Filed 05/28/24 Page 2 of 2 PageID 408




   Cir. 2022), specifically, whether or not diversity jurisdiction is available to a

   plaintiff when the plaintiff is not a citizen of the United States and each of the

   defendants is not a citizen of the United States.

         Accordingly, it is hereby

         ORDERED:

         1. The Parties may submit additional briefing to address the issue of

            Plaintiff’s citizenship as it relates to diversity jurisdiction, in

            accordance with the Court’s directions above.

         2. Such additional briefing may not exceed five (5) pages, and must be

            submitted on or before Friday, June 14, 2024.




                                                       ______________________
                                                       RICHARD K. EATON
                                                       U.S.D.J., by designation


   Dated: May 28, 2024
          Jacksonville, FL


   Copies to:

   Counsel of Record



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